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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL

  Case No.        CV 21-4802 MWF (PVCx)                                    Date: October 21, 2021
  Title       Skeino, LLC, et al. v. April Reis, et al.


  Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                     Rita Sanchez                                        Not Reported
                     Deputy Clerk                                  Court Reporter / Recorder

          Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                   Not Present                                        Not Present

  Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

        The Complaint in this matter was filed on June 13, 2021. (Docket No. 1).
  Pursuant to Rule 4 of the Federal Rules of Civil Procedure, the deadline to serve
  the Summons and Complaint was September 13, 2021.

         On July 9, 2021, the Court filed an Order to Show Cause Re: Subject Matter
  Jurisdiction (“OSC SMJ”). (Docket No. 15). In response to the OSC SMJ,
  Plaintiffs filed a Response on July 15, 2021; Plaintiffs requested and the Court
  granted an extension of time to for Plaintiffs to file a First Amended Complaint.
  (Docket No. 17). On August 15, 2021, Plaintiffs filed a First Amended Complaint
  (“FAC”). (Docket No. 19).

         On August 23, 2021, the Court filed an Order to Show Cause re dismissal
  for lack of prosecution (“OSC LOP”). (Docket No. 20). The deadline to respond
  to the OSC LOP was September 13, 2021. In response to the OSC LOP, Plaintiffs
  filed a Proof of Service – Acknowledgement of Service (“POS”) on September 11,
  2021. (Docket No. 21). The POS stated that service was made pursuant to Fed. R.
  Civ. P. Rule 5(b).

      The OSC LOP referred to service of the Summons and First Amended
  Complaint pursuant to Fed. R. Civ. P. Rule 4(m). The POS filed by Plaintiffs



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  states that the “summons and complaint” were served by mail pursuant to Fed. R.
  Civ. P. Rule 5(b) by a member of the Bar of this Court.

         While Fed. R. Civ. P. Rule 5(a)(1)(B) does govern the service of “a pleading
  filed after the original complaint …,” it would not apply here because service was
  never properly made pursuant to Fed. R. Civ. P. Rule 4. Further, Fed. R. Civ. P.
  Rule 5(a)(2) states, “…But a pleading that asserts a new claim for relief against
  such a party must be served on that party under Rule 4.” The FAC includes a new
  claim for relief.

         The Court will allow Plaintiffs one final opportunity to show cause why this
  action should not be dismissed for lack of prosecution. In response to this
  ORDER TO SHOW CAUSE, the Court will accept the following no later than
  NOVEMBER 5, 2021.

           BY PLAINTIFFS: PROOFS OF SERVICE of Summons and FAC on
            Defendants. The proofs of service must reflect proper service pursuant to
            Fed. R. Civ. P. Rule 4.

                   AND/OR

           BY DEFENDANTS: RESPONSES TO THE FAC or an appropriate
            stipulation to extend the time within which Defendants must respond to
            the FAC.

        No oral argument on this matter will be heard unless otherwise ordered by
  the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand
  submitted upon the filing of the response to the Order to Show Cause. Failure to
  respond to the Order to Show Cause by November 5, 2021 will result in the
  dismissal of this action.

          IT IS SO ORDERED.


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